                   Case 1:21-mj-00400-RMM               Document 1         Filed 04/26/21          Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of &ROXPELD

                  United States of America                      )
                             v.                                 )
               ROMAN STERLINGOV                                 )       Case No.
                                                                )
                                                                )
                                                                )
         'DWHRI%LUWK;;;;;;;;                               )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 27, 2011 to April 26, 2021           in the county of                              in the
                         LQWKH'LVWULFWRI   &ROXPELD , the defendant(s) violated:

            Code Section                                                  Offense Description

            18 USC 1960(a) Unlicensed Money Transmission
            18 USC 1956(a)(3) Money Laundering - Sting
             D.C. Code 26-1023(c) Money Transmission without a License




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                           Complainant’s signature

                                                                                   Devon Beckett, Special Agent
                                                                                           Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             04/26/2021
                                                                                              Judge’s signature

City and state:      Washington D.C.                                         Robin M. Meriweather, Magistrate Judge
                                                                                           Printed name and title
